Case 4:17-cv-10081-JLK Document 52 Entered on FLSD Docket 07/06/2018 Page 1 of 8



                               UNITED STATES DISTRICT COURT
                               SO U TH ER N D ISTRICT O F FLO R ID A

                            CASE NO .17-10081-ClV-K1NG/S1M ONTON

  M A IV IRU BA L,

         Plaintiff,



  BIG JOHNS PIZZA ,PASTA & SUBS CO.
  FRANKSIPOSandCLAUDIAJONISAVV,
         Defendants.
                                                   /

      ORDER GR ANTING DEFENDANT'S M O TION FD R SUM M ARY JUDGM ENT

         ThismattercomesbeforetheCourton Defendant'sM otionforSummaryJudgment(DE
  37)filedonM ay30,2018.Uponreview oftherecordandcarefulconsideration,theCourtfinds
  thattheM otion should be granted. 1

         PlaintiffMaiviRubal($tRuba1'')filedherComplaint;onOctober9,2017against
  DefendantBigJohnsPizza,Pasta& SubsCo.($$BigJohn'sPizza''),DefendantFrank Sipos
  (kbsipos'')andDefendantClaudiaJonisova(iilonisova'),allegingviolationsofFairLabor
  StandardsAct,29U.S.C.j201,thePregnancyDiscriminationAct,42U.S.C.j2000eetseq.
  ((TDA''),theAmericanswith DisabilitiesAct,42U.S.C.j12101etseq.,(C$ADA''),andthe
  FloridaCivilRightsAct,Fla.Stat.j760etseq.($iFCRA'')(DE //1).TheDefendantsfiledtheir
  AnswerandAfsrmativeDefensestotheComplaintonNovember2,2017 (DE //11).Theparties




  ''rheCourthasalsoconsideredtheDefendant'sStatementofMaterialFactsinSupportofitsMotion(DE38),filed
  onMay30,2018,thePlaintiff'sResponsetotheDefendant'sMotionforSummaryJudgment(DE 44),filedonJtme
  1.
   3,20l8,thePlaintiff'sResponsetotheDefendant'sStatementofMaterialFacts(DE 44),alsofiledonJune13,
  2018and a1ltheexhibitsand declarationsattached thereto.
Case 4:17-cv-10081-JLK Document 52 Entered on FLSD Docket 07/06/2018 Page 2 of 8



  settled Plaintiffswageand hourclaims.2 Assuch,only cotmts111,1V ,V,and Vlrem ain

  pending.
                                      1.      BACK GROUND

         The Plaintiffbegan working forBigJolm 'sPizzain June2016. (DE 39-1,page49:22-

  24),ThePlaintiffwashiredto serveasacashierandtakeorders.(DE 39-1,page51:1).During
  thecourseofheremployment,thePlaintiffwaslatetow ork on som eoccasionsand on other

  occasiops,didnotcomeinaltogether.(DE 39-1,page51).Shortlyaflerbeginningher
  employment,thePlaintifflearned thatshewaspregnantandinformedthe Defendant. Towards

  theend ofSeptem ber2016,thePlaintiffbegan experiencing com plicationswith herpregnancy

  and w entto the em ergency room on m ore than one occasicm . A sa resultofthose com plications,

  thePlaintiffasked DefendantSiposforcertain accommodations.Specifically,thePlaintiffcould

  notstandonherfeetfortoolongorcarryheavyitems. (DE 39-1,page71).ThePlaintiff
  receiveda11theaccommodationsthatsherequested.(DE 39-1,page83).Duringhervisittothe
  emergencyon September30,2016,thePlaintiffwastold torestuntilOctober7,2016.(DE 39-
  1,page69).ThePlaintiffneededthemoney,however,andoptedtoretul'nbacktoworkbefore
  October7,2016.On October23,2016,thePlaintiffwasrunninglatetowork.(DE 39-1,page
  72).Shetextedhersupervisorthatshewasgoingtobelateandheadvisedherthathewasnot
  workingonthatday andthatshewouldhavetodealwiththeowner(DefendantSipos)directly.
  Id UponherarrivalatBigJohn'sPizza,DefendantSipostoldthePlaintiffto Cdgohome.''(DE
  39-1,page72-73).Thereafter,PlaintiffneithercheckednorwentintoBigJohn'sPizzato
  inquirewhethershewasscheduledtowork.(DE 39-1,page75).ThePlaintiffonlyreturnedto
  workaweeklaterto filloutunemploymentcompensationpapers.(DE 39-1,page101-02).

  2ThePlaintiffacceptedDefendant'sOfferofJudgement(DE #19)onJanualy23,2018inwhichshereceived
  $337.50 in back wagesand $337.50asliquidated damages,foratotalrecovery of$675.
Case 4:17-cv-10081-JLK Document 52 Entered on FLSD Docket 07/06/2018 Page 3 of 8



                                 II.     LEGAL STANDARD

        Summaryjudgmentisappropriatewherethepleadingsand supporting materialsestablish
  thatthereisnogenuineissueasto anymaterialfactandthemovingpartyisentitledtojudgment
  asamatteroflaw.Fed.R.Civ.P.56(a);Celotex Corp.v.Catrett,477U.S.317,322 (1986).A
  fact is Skm aterial'' if it m ay determine the outcome under the applicable substantive law.

  Anderson p.Liberty Lobby,Inc.,477 U.S.242,248(1986);Allen v.TysonFoods,Inc.,121F.3d
  642,646(1lth Cir.1997).Iftherecordasawholecouldnotleadarationalfact-finderto findfor
  the nonm oving party,there isno genuine issue offactfortrial. M atsushita Elec.Indus.Co.v.

  ZenithRadio Corp.,475U.S.574,587(1986).
        On a motion forsummaryjudgment,the Courtmustview theevidence and resolve all
  inferences in the light m ost favorable to the nonmoving party.Anderson,477 U.S.at 255;

  Williamson OilCo.,lnc.r.Philip Morris USA,346 F.3d 1287,1298 (11th Cir,2003).A mere
  scintilla of evidence in supportof the nonmoving party's position is insuficient to defeat a

  motion forsummaryjudgment.Anderson,477 U.S.at252;Kesingerv.Herringtons381F.3d
        1247 (11th Cir.2004).However,the Courtmay notundertake the jury's function of
  weighing the evidenceproperly offered by the partiesin reviewing therecord evidence.Latimer

  v.Roaring Toyz,lnc.,60lF.3d 1224,1237 (11th Cir.2010)(stNeitherwenorthe districtcourt
  aretoundertakecredibility determinationsorweightheevidence-').
                                       111.   DISCUSSION

     TheDefendantmovesforsummaryjudgmentontheremainingcountsonthebasisthat
  Plaintifffailed to m eetherburden ofestablishing aprim afaciecase thatshesuffered

  discrim ination ofany type. The Courthasreview ed a11the evidenceproffered by the Parties,

  which includesthePlaintiffand Defendant'sdeposition transcripts,the deposition transcriptof
Case 4:17-cv-10081-JLK Document 52 Entered on FLSD Docket 07/06/2018 Page 4 of 8



  Vivian Yern,and num eroussupportingdeclarations.Asdetailed below ,thePlaintiffhasfailed

  to provide any evidence,directorcircum stantial,to establish thatshewasthe victim of

  discrim ination in violation ofthePDA,ADA,orFCRA.

         Itisclearto onewho hasstudied thecasedecisionson thespecificelem entsofeach of

  theactssued upon by Plaintiffthataperson seeking redressforalleged discrim inatoryviolations

  prohibitedby CongressundertheADA,PDA and FLACRA,Plaintiffmustsustain som eadverse

  action asan elem entofeach and every oneofthese acts.Adverse action by aDefendantis,as

  Plaintiffhassuggested,provableby circumstantialevidence.However,wherethereisneitheror

  directorcircum stantialevidenceofany adverseaction by an employer,the suitm ustfail.

         Plaintiff,although a11ofthe directevidence and reasonablecircum stantialinferences

  drawn therefrom pointto thecontrary,persistsin asserting thatshewasfired. Shesuggests,for

  example,thatwhen sheasked foran accomm odation to go hom ebecause she wasnotfeeling

  welland wasfreely granted thatrequestand told to çsto go hom e,''thatthiswasproof,

  circum stantially,thatheremployerfiredherbecauseshewaspregnant.Absentm ore,eitherby

  act,statementorotherwise,these words,although Plaintiffbelieved in herm ind were equivalent

  to a statementthatdsyou arefired,''do notriseto thatlevelofreasonableinterpretation.

         Although Plaintiffm ay besincereinherbeliefthatthesemattersal1indicated to herthat

  shewasfired,theydonotmeetthelevelofcompetentcircumstantialevidence(ordirect
  evidence)thattheemployerwasnotifyinghershewasfredandherjobwasover.
     A . Countl1I- V iolation ofthe PDA

         Defendantmovesforsummaryjudgementon Plaintiff'sCount111,whichalleges
  pregnancy discrim ination under the Pregnancy D iscrim ination A ct. A Plaintiffestablishesa

  primafaciecaseofdiscrimination byshowingthat(1)sheisamemberofaprotected class;(2)
Case 4:17-cv-10081-JLK Document 52 Entered on FLSD Docket 07/06/2018 Page 5 of 8



  shewassubjectedtoanadverseemploymentaction;(3)heremployertreatedsimilarlysituated
  employees(notbelongingtotheclass)in amorefavorablefashion and(4)shewasqualifiedto
  dothejob,SeeMccann p.Tillman,526F..3d 1370,1373(11th Cir.2008).OnceaPlaintiff
  establishesa prim afaciecase,theburden shiftsto theem ployerwho m ustthan articulate a

  legitim ate non-discriminatory reasonfortheemploymentaction.SeeBurke-Fowlerv.Orange

  Cty,Fla.,447F.3d 1319,1323(11thCir.2006).lftheemployerisabletosatisfyitsburden,the
  presumption ofdiscrimination isrebutted andtheburden fallson thePlaintiffto demonstratethat

  theactualreason isapretextfordiscrimination.f#.

         Here,theDefendantdoesnotdisputethatthePlaintiffwasamemberofaprotected class,

  butarguesthatshefailsto establish aprim afacie caseofpregnancy discrim ination in allother

  respects.TheCourtagrees. ThePlaintiff stestim onyestablishesthaton the day sheallegesshe

  wasfired,thePlaintiffwasm erely asked to go hom ebecauseshewaslate and by thetim eshe

  anived atBig John'sPizza,them anagerhad already coordinated forsom eone to coverhershift.

  Plaintiff'sown testim ony contlrm sthatshewasnevertold shew asfired:

         Q.     Didhe(DefendantSiposjtellyouyouwerefired?
                g...1
         A.     N o.

  (DE 39-1,page72:25-73:1-3).
         The Plaintiffhasnotshown thatshewasfired and assuch,failsto establish thatshe was

  subjectedtoanadverseemploymentaction.
         ThePlaintiffhasalsonotestablishedthatshewasqualifiedforthejob.Tothecontrary,
  thePlaintiff sowntestimony confirm sthattherewereinstanceswhen Plaintiffcam ein late and

  otherinstanceswhen shedid notshow up ata1lforherassigned shifts:

         Q.     AndtherewereinstanceswhenyouworkedforBigJohn'swhereyou camein
                late,right?
Case 4:17-cv-10081-JLK Document 52 Entered on FLSD Docket 07/06/2018 Page 6 of 8



        A.     Y es.
                     (...)
        Q.     Thereweretimeswhereyoujustdidn'tshow upfopryourshiftatal1atBig
               John's,correct?
               (...1
        A.     Yes,ithappened,butIcalled.

  (DE 39-1,page51:6-17).
        Accordingly,based on arevicw ofthefacts,the CourtfindsthatthePlaintiffhasfailed to

  establish aprimafaciecase ofpregnancy discrim ination.

     B. CountIV -V iolation oftheFCR A

        TheDefendantmovesforsummaryjudgmentonCount1V,which allegesaclaim of
  genderdiscrimination undertheFlorida CivilRightsAct. '
                                                       r0prevailon aclaim ofgender

  discriminationundertheFloridaCivilRightsAct,Plaintiffmustestablishthat(l)sheisa
  memberofaprotectedclass;(2)shewasqualifiedfortheposition;(3)shesufferedanadverse
  employmentaction;and(4)heremployertreatedsimilarlysituatedemployeesoutsideher
  protectedclassin amorefavorablefashion.SeeNicholasv.Bd OfTrusteesofuniv.ofAlabama,
  25lFed.Appx.637,643(11thCir.2007).
        Asstated above,the CourtfindsthatthePlaintifffailed to establish thatshewasqualified

  fortheposition orthatshe suffered an adverseem ploymentaction.Assuch,thePlaintiffhas

  failedtoestablishaprimafaciecaseofgenderdiscriminationandsummaryjudgmentisentered
  forD efendanton this Count.

         C ountV - V iolation ofthe A DA

         TheDefendantmovesforsummaryjudgmenton CountV,whichallegesaclaim of
  discrim ination based on disabilitypursuantto theADA .To establish aclaim fordisability

  discrimination,aPlaintiffmustshow that:(1)shehasadisability;(2)shewasqualifiedatthe
  relevanttimeand(3)shewasdiscriminatedagainstbecauseofherdisability.SeeAlvarezv.
Case 4:17-cv-10081-JLK Document 52 Entered on FLSD Docket 07/06/2018 Page 7 of 8



 SchoolBd OfBrowardCounty,208F.supp.3d 1281(S.D.171a.2016).An employerunlawfully
  discrim inatesagainstaperson with adisabilitywhen the employerfailsto providereasonable

  accomm odationsforthedisability,unlessdoing so would cause an undue hardship on the

  employer.42USC j l2112(b)(5)(A).Theemployeebearstheinitialburdenofrequestingan
  accomm odation and Plaintiffcan only prevailon herclaims,where,theemployerfailsto provide

  therequested accomm odation.Gaston v.Bellingrath Gardens (
                                                           :
                                                           f Home,Inc.,167 F.3d 1361,

  1363(11thCir.1999).W herePlaintifffailstomeetherburdenofproofsummaryjudgment
  mustbegranted.1d.

         TheDefendantarguesitisentitledtosummaryjudgmentonthiscountbecausethe
  Plaintiffhasfailed to establish thatsherequested an accom modation and wasdenied by

  Defendant.TheCourtagrees.In fact,the Plaintiff'sown testim ony confirm sthatshe was

  granted a11the accomm odationsthatsherequested:

         Q.     W hataccommodationsdidyourequestfrom BigJohn'sthattheydidnotprovide?
         A.     N one.

  (DE 39-1,page83:2-4).
         Based on the foregoing,the CourtfindsthatthePlaintiffhasfailedto establish a prim a

  faciecaseofdiscrim ination based on adisability.

     D.CountV1-ViolationoftheFCRA (Handicap)
         TheDefendantmovesforsummaryjudgmentonPlaintiff'sCountV1,which alleges
  discrimination on thebasisofahandicap. Forthereasonsstated above,thePlaintiffhasalso

  failed to meetherburden ofproofwith respectto CountVl.
Case 4:17-cv-10081-JLK Document 52 Entered on FLSD Docket 07/06/2018 Page 8 of 8



                                     lV.   C onclusion

        ln view ofthe foregoing,theCourtfindsthatthePlaintiffhasnotestablished thatshewas

  subjectedtodiscriminationofanytype.Accordingly,summaryjudgmentisenteredinfavorof
  theDefendantand againstPlaintiffRubalon allremaining counts.Itistherefore,

        ORDERED,ADJUDGED and DECREED thatDefendant'sM otion forSum mary

  Judgment(DE 37)isGRANTED onCounts111,1V,V and V1.
        DONE AND ORDERED in chambersattheJamesLawrence King FederalJustice

  Building and United StatesCourthouse,M imui,Florida,this6th day o July,2018.

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                                                  JAM ES LA W REN CE K IN G
                                                  UN ITED STATES D ISTRICT JU

  cc:   M agistrateJudgeAndrea M .Sim onton
        AllCounselofRecord




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